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                         Exhibit 11




                        Exhibit 11
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MAY 8, 2017 INTERVIEW OF SUZIE REYES:



David       Handed her card. David and Malani are Sbarro's outside lawyers, Don't


            represent any person or you. We are company's lawyers. Don't infer anything

            from the question. Highly confidential. Is protected by attorney- client privilege.

            Can't say anything, No one can compel anyone to disclose anything. Privilege


           belongs to company and company can disclose. No questions.



Suzie       Shift supervisor. She's under the manager who teaches her. Supervises mostly


           graveyard. Does afternoon, a month or two ago. Works Saturday with Sandra.


            She likes working with Sandra. She knows her job. Does dough, dishes and


           sometimes front. Slow days 3 or 4 people, weekends 5 or 6. She supervises


           graveyard when Alda not there. Sandra can be fine, Then tries to argue with

           employees. Has seen when Sandra and Karla in fight. They were doing dough.


           A verbal fight, not physical. They were fighting. Sandra said glad my mom is


           going to court and going to get her papers. Insinuating that she is undocumented.


           Karla is married. Sandra claimed that Karla's husband hit her grandma, Sandra's


           mom. Sandra was provoking Karla. Suzie told Karla to take a break' and relax.


           Started fighting again, She sent Karla home. Told Shel about it. He separated

           them. Then Sandra went on graveyard. Don't want to lose my job. Just doing


           her job, Sandra would not talk to Suzie. Told her have to do job. No other


           argument with other employees. Don't think Sandra is honest, Past Saturday


           Sandra said like working with you. You helped me out with dough. Then she


           said can't wait to leave Sbarro's. No one helps me. She worked here for Sbarro's


           for 6 years. Suzie told Shel not comfortable with Sandra. Don't like leaving


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        Sandra because she has mood changes. Works with younger people, 20 or 21 .


       Only lime she heard wasn't true. When working afternoon, Sandra picked up


       check, When leaving, said hours missing. Complained, Had line of customers.


       Sandra was rushing her. Suzy said J ask for your number when I clock you in. Is

       my responsibility to clock you in - give you paper - Sandra said "I can't wait. I


       have to go." Sandra said must be Alda's fault. Clock themselves in at register

       computer - 4:40 or 4:45, system restarts - clock out at 4:38, system restarts -


       clock back in at 4:50 - one person clocks everyone out. Clock out paper and


       gives it to people. Sandra claimed her hours were missing, Suzie worked at


       Monte Carlo for 2 months. Started there at 18 - now 24. 2008 or 2009, Knows


       an Anna. Thinks cashier. Don't know whether Anna had relationship with Zach.


       People said she, Anna, was his girlfriend, Suzy was working for Shel when this


       happened. Only heard from Sandra that Zach paid her hours she, Anna, did not


       work. Sandra told her Zach put her in the walk-in, Sandra said if not doing


       drugs, would have said no to him, Zach would ask her to do stuff - oral sex.


       Heard from others she had intercourse. Sandra would tell them in a group.


       Sandra would start talking about it. Suzie told Shel this. Shel spoke to Sandra


       and said can't talk about this during work. Everyone who worked graveyard,

       Alda, Niko and Wira, would hear these stories. Said Jesus smacked her in her


       butt and spoke to her inappropriately. Felt uncomfortable. She said Jesus would


       grab her from behind and grind crotch into her. Said Efrain would grab her hand


       and put it on his private parts. Everyone has heard these stories. Just those three.


       First day she started working at Bally's Sandra said this. "Oh, I'm here because




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            of what happened over there. Zach transferred me because of sexual assault with

            Zach, Jesus and Effain." Asked her if reported it. Sandra said no, Did not want

           to put daughter and sister's jobs in jeopardy. Heard from Amber that Sandra


            screamed "I can't wait to get my papers out of this." Now thinks about it, reason


           did not want to put daughter's job in jeopardy. Worked Saturday and Sunday


           graveyard this past week. Last week worked Saturday graveyard. She was off on


           Thursday. Told Shel and he told Sandra don't talk about this anymore. Stopped


           and then started again.



David      Great help. Important not to talk about this.



Suzie      Told Shel don't mind working with her - less knows, the better.


David      Let Dana know if you think of something.



Suzie      Spoke to Shel on Saturday. Amber told her about this and Sandra said Amber,

           her and Shel and Evelyn stealing. Meeting with Dana and accusing people of


           stealing. Suzie saw daughter cashing someone out. Money crumpled. Now don't


           put Karla on the register. This Friday night or Saturday morning. She talked to


           Shel about this. That bothers her, Shel said hang in there. Sandra trying to do


           something. Don't trust Sandra. Said did drugs before, Not worth her getting


           stressed. Not credible person. In her mood, is friends - Sandra says things just to


           say things.



David      Tell Dana if anything.




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MAY 9, 2017 INTERVIEW OF AMBER POOLE:



David      Malani and I are Sbarro's lawyers. We do not represent people, just company, not


           you. Protected by attorney-client privilege. No one can compel disclosure.

           Privilege belongs to company, not you.



Poole      Shift supervisor, mornings at Bally's store. Does not work with Sandra Perez.


           Came in morning shift. Sandra was going home. Amber coming in, last


           Saturday, Sandra seemed wired up. She was ranting. Said she could not wait to


           speak to Dana. She was going to get papers out of this. They were going to pay


           her. Her voice raised. Cook there. Richey was there. No one else around. They


           were in the front with Sandra. Alda in back doing dishes. Believes someone


            called off that day. No other encounters with Sandra. Nothing about sexual


            harassment or being touched. Started at Boulevard - closed - 3 years at Bally's.


            Have worked with Sandra on mid-shift. Sandra has been emotional at times.


            Hyper and then low. Up and down. Hot and cold. Off and on. Has worked with

            Karla and Sandra. Have had 2 or 3 arguments in front of customers. One had to

            leave. Sent home. Bring personal business to work. They used to live together.


            Needed to get a jersey she left. Karla called Sandra a "b" word. Karla said


            Sandra was a drug addict. Numerous times in argument and just talking. Can tell


            by Sandra's mouth whether on drugs. She wasn't eating or chewing gum.


            Clenched teeth, Sandra has admitted she has done drugs and is trying to get clean

            and to work on it. Never seen her with drug paraphernalia. Things in her life


            cause her to go back to drugs. She is real emotional. She had arguments with

            sister, Fabiola Perez. Never heard her talk about Zach, Jesus or Efrain. She


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